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                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                       )   NO CR19-0367 CRB
                                                     )
15           Plaintiff,                              )
                                                     )   STATEMENT OF THE UNITED STATES IN
16      v.                                           )   RESPONSE TO JANUARY 15, 2020 COURT
                                                     )   ORDER
17   EDUARDO VIERA-CHIRINOS, et al                   )
        a/k/a “Rojo”                                 )
18                                                   )
                                                     )
             Defendants.
19                                                   )

20

21           During the January 15, 2020 status conference in the above-captioned case, the Court ordered the
22 government to file a statement for each defendant outlining the following information: “quantity of

23 drugs, potential mandatory minimum, criminal history category, deportation status, and how long the

24 defendant has been in federal custody.” Dkt. 148, Minute Entry. In response to the Court’s order, the

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28 //

     STMT OF USA
     NO CR 19-0367 CRB
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 1 United States submits the chart attached here.

 2 DATED: January 27, 2020                          Respectfully submitted,

 3
                                                    DAVID L. ANDERSON
 4                                                  United States Attorney
                                                     /s
 5                                                  RYAN REZAEI
                                                    SAILAJA M. PAIDIPATY
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     STMT OF USA
     NO CR 19-0367 CRB
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                                    MINIMUM DRUG QUANTITY                                           CRIMINAL                                                      CUSTODY
                                                                             SUBJECT TO                                                     SUBJECT TO
                                       ATTRIBUTABLE TO                                              HISTORY          IMMIGRATION                                     AND
          DEFENDANT                                                          MANDATORY                                                       REMOVAL
                                                                                                                       STATUS                                   LITIGATION
                                         DEFENDANT1                           MINIMUM              CATEGORY2                               PROCEEDINGS
                                                                                                                                                                  STATUS
                                         Methamphetamine                                                                                                         In custody
                                   (mixture / substance) -1173.7 g                                                                                                  since
    EDUARDO ALFONSO                      Heroin - 2119.4 g                                                                                                       7/29/2019
     VIERA-CHIRINOS,                   Cocaine Base - 467 g                Yes – 120 months               I          Undocumented                Yes
        a/k/a “Rojo”                      Cocaine - 2155 g                                                                                                     Status hearing
                                     Total – 6565.46 kg CDW3                                                                                                   on 3/25/2020
                                                                                                                                                                 In custody
                                                                           Yes – 60 months
      VICTOR MANUEL                                                                                                                                                 since
                                         Heroin - 1400.8 g                  (drug quantity
      ALFONSO VIERA-                                                                                                                                             7/29/2019
                                         Cocaine - 1986.1 g                 supports 120-                 I          Undocumented                Yes
          CHIRINOS,
                                      Total – 1798.02 kg CDW               month mandatory
        a/k/a “Mojarra”                                                                                                                                        Status hearing
                                                                              minimum)
                                                                                                                                                               on 3/25/2020
                                                                                                                                                                 In custody
                                                                           Yes – 60 months
     JORGE ALBERTO                                                                                                                                                  since
                                         Heroin - 1400.8 g                  (drug quantity
     VIERA-CHIRINOS,                                                                                                                                             8/16/2019
                                         Cocaine - 1986.1 g                 supports 120-                 I          Undocumented                Yes
        a/k/a “Chino”
                                      Total – 1798.02 kg CDW               month mandatory
                                                                                                                                                               Status hearing
                                                                              minimum)
                                                                                                                                                               on 3/25/2020
                                                                                                                                                                 In custody
                                                                           Yes – 60 months
     JORGE ENRIQUE                                                                                                                                                  since
                                         Heroin - 1400.8 g                  (drug quantity
     VIERA-CHIRINOS,                                                                                                                                             7/29/2019
                                         Cocaine - 1986.1 g                 supports 120-                 I          Undocumented                Yes
       a/k/a “Enrique”
                                      Total – 1798.02 kg CDW               month mandatory
                                                                                                                                                               Status hearing
                                                                              minimum)
                                                                                                                                                               on 3/25/2020




1
  The reported drug quantities are based on the government’s current estimates. Additional chemical testing and analysis of intercepted communications are ongoing and these
calculations may change depending on those assessments.
2
  The reported criminal history categories are estimates based on criminal history reports in the government’s possession that have been produced to individual defendants. The
criminal history categories have not been verified by U.S. Pretrial Services or the U.S. Probation Office.
3
    CDW refers to “Converted Drug Weight” as determined under U.S. Sentencing Guidelines § 2D1.1(c), Notes to Drug Quantity Table (K), and Application Note 8.
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                   MINIMUM DRUG QUANTITY                                 CRIMINAL                                  CUSTODY
                                                      SUBJECT TO                                   SUBJECT TO
                      ATTRIBUTABLE TO                                    HISTORY    IMMIGRATION                      AND
   DEFENDANT                                          MANDATORY                                      REMOVAL
                                                                                      STATUS                     LITIGATION
                        DEFENDANT1                     MINIMUM          CATEGORY2                  PROCEEDINGS
                                                                                                                   STATUS
                        Methamphetamine                                                                           In custody
                                                     Yes – 60 months
                  (mixture / substance) - 1173.7 g                                                                   since
 KAREN CASTRO-                                        (drug quantity
                         Heroin - 2119.4 g                                          Undocumented                  7/29/2019
    TORRES                                            supports 120-         I                          Yes
                       Cocaine Base - 467 g
                                                     month mandatory
                         Cocaine - 2155 g                                                                        Status hearing
                                                        minimum)
                     Total – 6565.46 kg CDW                                                                      on 3/25/2020
                        Methamphetamine                                                                            In custody
                                                     Yes – 60 months
                   (mixture / substance) - 73.5 g                                                                     since
  CILDER RAMON                                        (drug quantity
                        Heroin – 1474.3 g                                                                          7/29/2019
GAMEZ-VELASQUEZ                                       supports 120-         I       Undocumented       Yes
                      Cocaine Base - 199.5 g
                                                     month mandatory
                        Cocaine – 2035.1 g                                                                       Status hearing
                                                        minimum)
                     Total – 2740.74 kg CDW                                                                      on 3/25/2020
                                                                                                                   In custody
  ALEXANDER
                                                                                                                      since
  GONZALEZ-             Heroin - 1400.8 g
                                                                                                                   7/29/2019
   VASQUEZ,             Cocaine - 1986.1 g           Yes – 120 months       I       Undocumented       Yes
   a/k/a “Ale”       Total – 1798.02 kg CDW
                                                                                                                 Status hearing
                                                                                                                 on 3/25/2020
                                                                                                                   In custody
                                                                                                                      since
GUSTAVO ADOLFO          Methamphetamine                                                                            7/31/2019
     GAMEZ-        (mixture / substance) - 59.5 g
                                                     Yes – 60 months        I       Undocumented       Yes
  VELASQUEZ,          Cocaine base - 75.25 g                                                                       Change of
  a/k/a “Bomba”      Total – 387.72 kg CDW                                                                            plea
                                                                                                                 scheduled for
                                                                                                                   2/12/2020




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                    MINIMUM DRUG QUANTITY                               CRIMINAL                                 CUSTODY
                                                      SUBJECT TO                                  SUBJECT TO
                       ATTRIBUTABLE TO                                  HISTORY    IMMIGRATION                      AND
   DEFENDANT                                          MANDATORY                                     REMOVAL
                                                                                     STATUS                     LITIGATION
                         DEFENDANT1                    MINIMUM         CATEGORY2                  PROCEEDINGS
                                                                                                                  STATUS
                                                                                                                 In custody
                         Methamphetamine                                                                            since
                    (mixture / substance) - 66.5 g                                                               8/14/2019
  ELVIN MEJIA-
                           Heroin – 3.5 g
    PADILLA,                                         Yes – 60 months       I       Undocumented       Yes
                      Cocaine Base - 103.25 g                                                                     Change of
   a/k/a “Pajaro”
                         Cocaine – 47.25 g                                                                            plea
                      Total – 514.66 kg CDW                                                                     scheduled for
                                                                                                                  2/12/2020
                                                                                                                 In custody
                        Methamphetamine                                                                              since
                    (mixture / substance) - 3.5 g                                                                  8/9/2019
  YORDI YABIER             Heroin – 7 g
                                                     Yes – 60 months       I       Undocumented       Yes
AGURCIA GALINDO         Cocaine Base - 7 g                                                                        Change of
                         Cocaine – 1.75 g                                                                             plea
                      Total – 39.35 kg CDW                                                                      scheduled for
                                                                                                                  2/12/2020
                                                                                                                 In custody
                                                                                                                     since
                         Methamphetamine
                                                                                                                   8/9/2019
    RUDIS           (mixture / substance) – 38.5 g
 VALLADERES-               Heroin – 63 g             Yes – 60 months       I       Undocumented       Yes
                                                                                                                  Change of
   CACERES              Cocaine Base - 14 g
                                                                                                                     plea
                        Total – 190 kg CDW
                                                                                                                scheduled for
                                                                                                                  2/12/2020




                                                             -3-
